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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )       Criminal No. 21-cr-10200-RGS
ABHIJIT DAS,                                  )
                                              )
                       Defendant              )
                                              )

                             WITHDRAWAL OF APPEARANCE

       The undersigned Assistant U.S. Attorney hereby withdraws her appearance in this case.

AUSA Neil Gallagher will continue representing the government.

                                              Respectfully submitted,

                                              JOSHUA S. LEVY
                                              Acting United States Attorney

                                      By:     /s/ Elysa Q. Wan______________
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                                   CERTIFICATE OF SERVICE

        I certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).


                                              /s/ Elysa Q. Wan ______________
                                              ELYSA Q. WAN
Dated: May 31, 2024                           Assistant U.S. Attorney
